 

Case 2:21-cr-00219-APG-DJA Document 2 Filed 09/01/21 Page1of1

PER 18 U.S.C. 3170

 

 

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

 

By: LJ INFORMATION [¥] INDICTMENT

 

Matter Sealed: [_] Juvenie [C] other than Juvenile

CO Pre-Indictment Plea CT] Superseding

O Indictment
information

CO Defendant Added
OJ Charges/Counts Added

Name of District Court, and/or Judge/Magistrate Location (City)

 

 

 

 

 

UNITED STATES DISTRICT COURT Las Vegas

DISTRICT OF NEVADA Divisional Office

Name and Office of Person Ellenrose Jarmclowich
Furnishing Information on Cus. Atty (other u.s. Agency
THIS FORM Phone No. (702) 388-6336
Name of Asst.

U.S. Attomey DANIEL SCHIESS

(if assigned)

 

PROCEEDING

Name of Complainant Agency, or Person (& Title, if any)
SA Ruby Soto FBI

 

CJ person Is awaiting trial in another Federal or State Court
(give name of court)

 

this person/proceeding transferred from another district
per (circle one) FRCrP 20, 21 or 40. Show District

Oj

 

this is a reprosecution of charges
previously dismissed which were
dismissed an motion of:

oO U.S. Atty Oo Defense

0

SHOW
[[] this prosecution relates to a DOCKET NO.
pending case involving this same
defendant. (Notice of Related
Case must still be filed with the
Clerk.)

prior proceedings or appearance(s)
before U.S. Magistrate Judge
regarding this defendant were
recorded under

MAG. JUDGE
CASE NO.

O

 

 

 

 

Place of

 

CASENO. 2:24-cr- 2/9

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

USA vs.
. SHUA A. MARTINEZ,
Defendant: FEN RECEIVED
ENTERED SERVED ON
Address: COUNSEL/PARTIES OF RECORD
SEP - 1 2021
CLERK US DISTR
| | Interpreter Requirag| cy; el RT
BY: DEPUTY
Birth LZ] Male L] Alien
Date CI Female (if applicable)
Social Security Number
DEFENDANT
Issue: Warrant CE] Summons

Location Status:

Anest Date or Date Transferred to Federal Custody

CJ Currently in Federal Custody

[] Currently in State Custody
CO Writ Required

oO Currently on bond

C1] Fugitive

Defense Counsel (if any):

 

C)rpp [J] cJA [] RETD

E] Appointed on Target Letter

 

 

offense County

 

[J This report amends AO 257 previously submitted

 

OFFENSE CHARGED - U.S.C, CITATION - STATUTORY MAXIMUM PENALTIES - ADDITIONAL INFORMATION OR COMMENTS

 

 

 

 

Total # of Counts___4
Title & Section/Offense Level a
Set (Petty = 1/ Misd = 3/ Felony = 4) Description of Offense Charged Count(s)
18 U.S.C. §§ 922(g) and 924(a\(2) Felon in Possession of Firearm 1,2

 

18 U.S.C. §§ 922(g) and 924(a)(2)

Felon in Possession of Ammunition

3,4

 

 

 

 

 

 

 

 

 

 
